
959 A.2d 807 (2008)
406 Md. 468
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Howard Teng-Hao MEI, Respondent.
Misc. Docket AG No. 12, September Term, 2008.
Court of Appeals of Maryland.
November 10, 2008.

ORDER
GLENN T. HARRELL, JR., Judge.
This matter came before the Court on the Joint Petition of the Attorney Grievance *808 Commission of Maryland and Respondent, Howard Teng-Hao Mei, to disbar Respondent by consent from the practice of law.
The Court, having considered the Petition, it is this 10th day of November, 2008,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Howard Teng-Hao Mei, be and is hereby disbarred by consent from the practice of law in the State of Maryland, and it is further,
ORDERED that the judgment in the amount of $2,350.00 be, and it is hereby entered again the Respondent and for the Attorney Grievance Commission of Maryland, and it is further,
ORDERED that the Clerk of this Court shall remove the name of Howard Teng-Hao Mei from the register of attorneys in the Court and shall certify that fact to the Client Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
